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 February 11, 2020


 VIA EMAIL

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 Re:      In re: Scoobeez, et al., Case No. 2:19-bk-14989-WB (Bankr. C.D. Cal.)

 Dear Counsel:

 We are in receipt of your correspondence dated January 24, 2020 and February 9, 2020
 (“Discovery Correspondence”) responding to Amazon’s January 15, 2020 deficiency letter and
 purporting to identify alleged deficiencies in Amazon’s production. As to the former, in an effort to
 narrow the scope of outstanding disagreements between the parties, Amazon will limit its response
 to issues that necessitate further discussions. As to the latter, Amazon has completed a fulsome
 production in response to Hillair’s document requests. Indeed, Amazon already has produced
 thousands of pages of documents and significant data, and has made five witnesses available to be
 deposed, despite significant scheduling difficulties.

 Amazon will address each of the specific issues discussed in the Discovery Correspondence in detail
 below but, to be clear, will vigorously oppose any request to further postpone the hearing on its
 motion for relief from the automatic stay. Amazon has produced a significant volume of discovery
 that conclusively demonstrates that Amazon decided to terminate its contract with Scoobeez, along
 with more than a dozen other DSPs, as part of a systemic review of its DSP population due to
 Scoobeez’ history of wage and hour litigation. This is evidenced by witness testimony and
 documents, including Micah McCabe’s July 1, 2019 report, all of which have been produced
 contrary to Hillair’s assertions. See, e.g., AMAZON_H002422 (McCabe’s July 1, 2019 proposal);
 AMAZON_H002459-69 (describing July 1 meeting and DSP analysis); AMAZON_H002451,
 AMAZON_H002453-58 (analyses of DSPs).

 In the recent Discovery Correspondence, Hillair suggests that without certain other documents that
 were not directly requested in discovery, Hillair will not be able to proceed with Ms. Richardson’s


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 deposition and, as a result, will seek to continue the hearing on Amazon’s motion for relief from
 the stay. This makes no sense. Hillair did not even suggest it needed to depose Ms. Richardson
 until Thursday, January 30, over a month after Amazon began its document production.

 I.      Hillair’s Responses to Amazon’s Deficiency Letter

 As an initial matter, Amazon rejects Hillair’s characterization of the parties’ December 23, 2019 call
 and Hillair’s attempts to limit its discovery obligations. Indeed, for many of the requests where
 Hillair generically claims that the request is overly burdensome, Amazon requested – and Hillair
 agreed – to provide specific facts demonstrating the alleged burden. Hillair has failed to do so and
 therefore, has not complied with its discovery obligations. While we are happy to meet and confer
 on specific issues, including those discussed below, Amazon asks that Hillair please ensure its
 production satisfies Hillair’s discovery obligations.

 First, Amazon’s Request No. 5 seeks communications between Hillair and third parties concerning
 or relating to the Amazon Agreement. Communications with investors, potential investors, and
 outside consultants may well have discussed the risks inherent in Hillair’s loan to Scoobeez given the
 terms of the Amazon Agreement and Scoobeez’ reliance upon the continuation of its relationship
 with Amazon. Hillair’s recognition of these risks is directly relevant to the arguments made by Hillair
 in opposition to Amazon’s motion. If such documents exist, they should be produced. If such
 documents do not exist, as is implied in your January 24, 2020 letter, Hillair should say so and put
 an end to this issue.

 Second, Hillair has refused and/or failed to produce final copies of draft emails included in its
 production. For example, in response to Amazon’s request for a “finalized” copy of a draft letter
 that appears to have been directed to Amazon at HILLAIR00000159-160, Hillair refused to
 provide the “final” letter, instead suggesting that if the letter was sent to Amazon, Amazon would
 already have it. Because Amazon does not know whether this draft letter is the final product, to
 whom the letter would have been sent, who would have sent the letter, in what form it would have
 been provided, or when it would have been sent, it is unreasonable to suggest that Amazon should
 be able to locate this letter in its records. Please either produce a copy of the final letter or confirm
 that there were no later drafts and that the letter was never sent. Similarly, Hillair said that it would
 search for the finalized email associated with HILLAIR00000019, a draft email to an individual
 requesting additional funding to support Scoobeez. Please produce copies of all subsequent drafts
 of this e-mail, including copies of all e-mails sent based upon those drafts or confirm that there are
 no subsequent drafts of that e-mail and that the e-mail was not sent to potential investors.

 Third, Hillair has failed in some instances to produce complete document families. For example,
 Hillair has refused to provide the attachment to HILLAIR00000182-184, email correspondence in
 which Jeffrey Berman offers to provide additional information to Hillair about Scoobeez. Hillair
 characterizes the attachment as a “generic NDA.” If this is the case, there is no reason to withhold
 its production. Hillair also refused to produce a draft term sheet attached to HILLAIR00000259-
 266, email correspondence between the same parties. The draft term sheet is responsive and
 material to show the terms first proposed transaction between Scoobeez and Hillair. To the extent
 the terms bear on an analysis of Scoobeez’ business and the risks associated with Scoobeez’
 relationship with Amazon, the draft term sheet may be responsive to a number of Requests,
 including Request Nos. 2 (communications between Hillair and Scoobeez re: Amazon Agreement)
 and 10 (documents re: Scoobeez’ operations including financial statements). Next, Hillair also has
 further refused to produce the attachment to HILLAIR00000251-253, email correspondence in
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 which Hillair asks Scoobeez to “generate below analysis assuming no additional hub expansion.”
 Hillair characterizes the analysis as not relevant nor responsive to any of Amazon’s Requests.
 However, to the extent the analysis touches on Scoobeez’ business operations and the impact of
 “no additional hub expansion” on Scoobeez’ volume of business, the analysis may be relevant to
 Request No. 10, and may reflect Hillair’s awareness of the limitations imposed by the Amazon
 Agreement. That Request seeks documents referring or relating to Scoobeez’ operations including
 communications between Hillair employees and Scoobeez employees. Therefore, Amazon
 reaffirms its demand that Hillair produce the aforementioned documents.

 Fourth, Hillair has not addressed the remaining issues identified regarding its document production.
 For example, Hillair did not respond to Amazon’s requests for a legible copy of
 HILLAIR00001294, which appears to be a report of Scoobeez’ cash flow. Please re-produce a
 clear and legible copy of the document or confirm that a legible copy does not exist. As to
 Amazon’s requests for a spreadsheet discussed between Hillair and Scoobeez in
 HILLAIR00000299-302, Hillair responds that it is “at a loss as to how this spreadsheet is
 material or responsive.” In this correspondence, Hillair poses a number of questions to Scoobeez
 after appearing to notice some differences between a current and prior spreadsheet. The requested
 spreadsheet is the latter of the two spreadsheets. Production is relevant to Hillair’s business
 analysis of Scoobeez’ operations, including Hillair’s recognition that Scoobeez was not being
 forthcoming in the information that Scoobeez was providing to Hillair. Therefore, please produce the
 referenced spreadsheet or confirm that Hillair does not have a copy of the spreadsheet.

 II.     Amazon’s Responses to Hillair’s Alleged Deficiencies in Amazon’s Production

 As an initial matter, Amazon denies Hillair’s vague allegations regarding perceived production
 deficiencies. Amazon collected and produced thousands of pages of non-privileged information and
 data responsive to Hillair’s document requests. The following are Amazon’s responses to Hillair’s
 specific allegations regarding Amazon’s production.

 First, Hillair requests that Amazon produce a July 1, 2019 report and Scoobeez’ scorecards.
 Despite Hillair’s accusation that Amazon’s production has been “materially deficient,” Amazon
 previously produced these documents. For example, the requested July 1, 2019 report, which
 contains the “original analysis,” was previously produced at AMAZON_H002422. Amazon also
 previously produced Scoobeez’ scorecards to Hillair at AMAZON_H000163 – AMAZON_H002106.
 By way of further response, Amazon disagrees with Hillair’s mischaracterization of Mr. McCabe’s
 testimony as it relates to the scorecards.

 Second, Hillair submits—for the first time— new requests categorized as “Audit Reports” and
 “Uncured Breaches.” Amazon notes that it disagrees with Hillair’s mischaracterization as to
 Scoobeez’ audit reports. As Mr. McCabe testified, Amazon determined to terminate its relations
 with Scoobeez based upon its history of wage/hour litigation. See McCabe Dep. 49:3-50:7.
 Nevertheless, Amazon already produced Scoobeez’ audit findings that Mr. McCabe and Mr. Wilson
 considered in conjunction with Amazon’s decision to terminate Amazon’s relationship with
 Scoobeez. See AMAZON_H002452. As to Hillair’s request for documents concerning Scoobeez’
 “uncured breaches,” Amazon previously produced spreadsheets concerning Scoobeez’ breaches of
 its Agreement with Amazon, the contents of which speak for themselves. See, e.g.,
 AMAZON_E00000358, 361, 363, 370, 372, 379, and 381. To the extent Hillair assumes that these
 documents reflect Scoobeez’ only breaches of its Agreement with Amazon, Amazon disagrees with
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 such assumption. While not required, to avoid unnecessary court intervention, Amazon will be
 making a supplemental production relating to Scoobeez’ audit history.

 Third, Hillair raises a number of alleged issues related to Amazon’s redactions of its documents.
 Amazon will respond to each issue in turn.

 Hillair alleges that during the parties’ December 23, 2019 meet and confer, Amazon “committed to
 producing relevant documents while redacting only the names of DSPs, while disclosing relevant
 metrics for all DSPs such that a proper comparison[] could be made.” Therefore, Hillair alleges
 that Amazon improperly redacted “all information concerning all other DSPs in numerous
 documents,” identifying such documents by bates number. Amazon disagrees with Hillair’s
 characterization of the parties’ meet and confer. At no time did Amazon agree that the only
 confidential and sensitive information it would redact would be the names of other DSPs. To the
 contrary, Amazon specifically noted that it would redact non-relevant confidential information, just
 as Hillair indicated it would do (and did do). The redactions in the documents Hillair identifies
 concern compliance and breach information of other DSPs, which has no relevance to the pending
 motion to modify the automatic stay.

 Hillair next alleges that AMAZON_E000517, an email from Jimmy Wilson (Amazon) to others, is
 improperly redacted. In this email, Jimmy Wilson comments that the “timing [of Scoobeez’ exit] is
 difficult to predict at this time . . . .” As Hillair correctly points out, the remainder of the comments
 from Mr. Wilson’s statement are redacted. The redaction is proper because the redacted text on
 AMAZON_E000517 reflects advice from counsel.

 The redacted text on AMAZON_E000365 concerns breach information relating to DSPs other than
 Scoobeez, which, as noted above, has no relevance to the pending motion to modify the automatic
 stay.

 In response to your request that Amazon produce the document AMAZON_E000381-513 in native
 format because you claim that the document is illegible, I am including with this letter the native
 file from which those documents were created. Please note that some of the redactions are white
 due to a formatting issue caused by the negative redaction application. The redactions in this
 document are the same as the image file previously produced.

 Finally, Hillair notes that “Amazon redacted recipients of the emails produced as ML_Hillair000010;
 ML_Hillair000040; ML_Hillair000110; ML_Hillair000125; and ML_Hillair000128 without basis.” The
 redacted text reflects the names of in-house counsel that were handling the matter. Thus, the
 redactions were proper.

 We hope to resolve these issues raised in this letter without the need for the Court’s intervention
 and are available if you would like to discuss these issues further. With that being said, Amazon
 reaffirms its opposition to any request to extend the parties’ current briefing and hearing schedule.
 As this letter confirms, the discovery process has provided the information necessary for the
 parties to proceed with this matter without further delay.
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 Sincerely,



 Richard W. Esterkin


 cc: All Counsel of Record
